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 1   NVB 105-14(1/15)

 2   Attorney: Elizabeth F. McCausland
 3
     Florida Bar #: 0125822
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 8
                                  UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEVADA
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                                                     ******
11
                                                         )   BK-S-17-50395-BTB
12
     In re: Karl A. Wolski                               )
                                                         )   CHAPTER 13
13                                                       )
                                                         )   FINAL REPORT OF MORTGAGE
                                    Debtor(s).           )   MODIFICATION MEDIATION
14
                                                         )   PROGRAM MEDIATOR
15                                                       )

16          The undersigned Mortgage Modification (“MMM”) Program Mediator Reports to the
            Court as follows:
17

18   A.     MMM proceedings were commenced in this case involving the following parties:

19          1. [ x] The Debtor and Debtor’s attorney, Karl A. Wolski and Tricia Darby, Esquire.
20
            2. [ ] The co-obligor/co-borrower/or other third party, __________________
                ________________________________________________________
21          3. [x ] The Lender’s representative, Rushmore Loan Management, LLC/ Steven Larson
22          (Sr. Asset Resolution Specialist) and Lender’s attorney, Arnold Graff, Esquire.
            4. [ ] Other: __________________________________________________
23

24   B.     The MMM proceedings resulted in the following:

25          1.   [   ]   The parties settled prior to attending.
26
            2.   [   ]   The case was dismissed.
            3.   [   ]   The Debtor or [ ] Debtor’s attorney failed to attend.
27          4.   [   ]   The Lender’s representative or [ ] Lender’s attorney failed to attend.
28          5.   [   ]   The parties reached an agreement.



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     :
 1

 2                [ ] The parties agreed to a Final Loan Modification agreement.
                  [ ] Other:_________________________________
 3
           6. [x] The parties did not reach an agreement.
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 7
     Dated: October 30, 2017                   /s/ Elizabeth F. McCausland
                                               Elizabeth F. McCausland
 8                                             Liz McCausland, P.A.
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                                               426 North Ferncreek Avenue
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